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                               EXHIBIT R


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                                                                            ŇĚẄȘ

              ȘPĿČ přǿmpťș 50 Ǻŀǻbǻmǻ čťěș ťǿ řěfǿřm đșčřmňǻťǿřỳ bǻŀ
                                     přǻčťčěș
         Đěčěmběř 06, 2016




                Ffťỳ čťěș ň Ǻŀǻbǻmǻ ħǻvě čħǻňģěđ ťħěř bǻŀ přǻčťčěș ťǿ ěňșųřě ťħǻť pǿǿř
                pěǿpŀě čħǻřģěđ ẅťħ mňǿř ǿffěňșěș ňǿ ŀǿňģěř ŀǻňģųșħ ň jǻŀ ẅħěň ťħěỳ
                čǻň’ť ǻffǿřđ ťǿ pǿșť bǿňđ – řěfǿřm ťħǻť čǿměș ǻfťěř ťħě ȘPĿČ ųřģěđ
                mųňčpǻŀ čǿųřťș ǻčřǿșș ťħě șťǻťě ťǿ ěňđ přǻčťčěș ťħǻť ųňfǻřŀỳ pųňșħ ťħě
                pǿǿř.

                Ťħě 50 čįťįěș čǿŀŀěčťįvěŀỳ ǻččǿųňť fǿř 40 pěřčěňť ǿf ťħě șťǻťě’ș pǿpųŀǻťįǿň.

                İňșťěǻđ ǿf įňčǻřčěřǻťįňģ pěǿpŀě ẅħǿ đǿň’ť ħǻvě mǿňěỳ ťǿ pǿșť bǿňđ fǿř
                mįňǿř įňfřǻčťįǿňș șųčħ ǻș ŀǿįťěřįňģ, ŀįťťěřįňģ, đįșǿřđěřŀỳ čǿňđųčť, ǻňđ
                đřįvįňģ ẅįťħ ǻ șųșpěňđěđ ŀįčěňșě, ťħě čįťįěș ǻřě ěįťħěř řěŀěǻșįňģ ťħěm ẅįťħ ǻ
                čǿųřť đǻťě ǿř ťǻķįňģ įňťǿ ǻččǿųňť ťħěįř ǻbįŀįťỳ ťǿ pǻỳ běfǿřě įmpǿșįňģ bǿňđ.

                Ťħě čħǻňģěș ǻffěčť ǿňŀỳ đěfěňđǻňťș fǻčįňģ mįșđěměǻňǿř čħǻřģěș įň čįťỳ
                čǿųřťș, ňǿť ťħǿșě čħǻřģěđ įň Ǻŀǻbǻmǻ’ș șťǻťě čǿųřťș, ẅħįčħ přįmǻřįŀỳ ħěǻř
                fěŀǿňỳ čǻșěș.

                Přěvįǿųșŀỳ, pěǿpŀě ťǿǿ pǿǿř ťǿ pǿșť bǿňđ ǿfťěň șǻť įň jǻįŀ fǿř đǻỳș ǿř ẅěěķș
                ųňťįŀ ťħěįř čǻșěș ẅěřě řěșǿŀvěđ – ŀěǻđįňģ șǿmě ťǿ șpěňđ mǿřě ťįmě įň jǻįŀ
                přįǿř ťǿ ǻđjųđįčǻťįǿň ťħǻň įf ťħěỳ ħǻđ pŀěǻđěđ ģųįŀťỳ ǿř běěň fǿųňđ ģųįŀťỳ.
                Ťħě řěfǿřmș ħěŀp ěňșųřě ťħǻť řěŀěǻșě fřǿm jǻįŀ đǿěș ňǿť đěpěňđ ǿň ǻ
                pěřșǿň’ș fįňǻňčįǻŀ șťǻťųș.

                “Ẅě čǻňňǿť ħǻvě ǻ ťẅǿ-ťįěřěđ jųșťįčě șỳșťěm ẅħěřě pǿǿř pěǿpŀě ẅħǿ ǻřě
                ǻẅǻįťįňģ ťřįǻŀ ǻňđ čǻňňǿť ǻffǿřđ bǻįŀ mųșť řěmǻįň įň jǻįŀ ŀǿňģěř ťħǻň pěǿpŀě
                ǻbŀě ťǿ bųỳ ťħěįř fřěěđǿm,” șǻįđ ȘPĿČ șťǻff ǻťťǿřňěỳ Mįčǻħ Ẅěșť.


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                “Đěťǻįňįňģ pěǿpŀě bǻșěđ ǿň ẅħěťħěř ťħěỳ ħǻvě ěňǿųģħ mǿňěỳ fǿř bǻįŀ đǿěș
                ňǿťħįňģ ťǿ ěňșųřě pųbŀįč șǻfěťỳ ǿř đěfěňđǻňťș’ řěťųřň ťǿ čǿųřť.

                “Ǻŀǻbǻmǻ’ș mųňįčįpǻŀ čǿųřť jųđģěș đěșěřvě čřěđįť fǿř řěfǿřmįňģ ťħěįř bǻįŀ
                přǻčťįčěș įň ťħěșě čįťįěș. Ẅě ħǿpě ťħě řěșť ǿf ťħě șťǻťě ẅįŀŀ fǿŀŀǿẅ ťħěįř
                ŀěǻđ.”

                Ǻ ŀįșť ǿf čįťįěș ťħǻť ħǻvě řěfǿřměđ ťħěįř bǻįŀ přǻčťįčěș čǻň bě vįěẅěđ ħěřě. Ǻ
                mǻp ǿf mųňįčįpǻŀįťįěș ẅįťħ řěfǿřměđ bǻįŀ přǻčťįčěș čǻň bě fǿųňđ ħěřě.




                                                                                                                Map data ©2017 Google, INEGI


                Ěǻřŀįěř ťħįș ỳěǻř, ťħě ȘPĿČ șěňť ŀěťťěřș ťǿ ǿffįčįǻŀș įň mǿřě ťħǻň 50 ǿf ťħě
                șťǻťě’ș ŀǻřģěșť mųňįčįpǻŀįťįěș, ěňčǿųřǻģįňģ ťħěįř čǿųřťș ťǿ čħǻňģě ťħěįř
                přǿčěđųřěș. Ťħě ȘPĿČ ǻŀșǿ șěňť șįmįŀǻř ŀěťťěřș (vįěẅ fųŀŀ ŀįșť ħěřě) ŀǻșť
                ẅěěķ ťǿ ťǿẅňș ẅįťħ pǿpųŀǻťįǿňș běťẅěěň 5,000 ǻňđ 10,000 pěǿpŀě, ǻș ẅěŀŀ
                ǻș ťǿ ťħě čǿųňťỳ șěǻťș įň Ǻŀǻbǻmǻ.

                Ħǿǿvěř, ǻ čįťỳ ǿf 85,000 pěǿpŀě, řěfǿřměđ įťș bǻįŀ přǿčěđųřěș įň Jųňě įň
                řěșpǿňșě ťǿ ťħě ȘPĿČ. İťș jǻįŀ pǿpųŀǻťįǿň ǿf mųňįčįpǻŀ čǿųřť đěfěňđǻňťș ħǻș
                șįňčě đřǿppěđ bỳ ňěǻřŀỳ 90 pěřčěňť – fřǿm 40 ťǿ fįvě ťǿđǻỳ, ǻččǿřđįňģ ťǿ
                Șųșǻň Fųqųǻ, čǿųřť đįřěčťǿř ǿf ťħě Ħǿǿvěř Mųňįčįpǻŀ Čǿųřť.
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                “Ňǿ čǿųřť ẅǻňťș ťǿ ķěěp ǻ pěřșǿň įň jǻįŀ ųňňěčěșșǻřįŀỳ běčǻųșě ťħěỳ čǻňňǿť
                ǻffǿřđ ťǿ pǿșť bǿňđ įň ǻ mįňǿř čǻșě,” Fųqųǻ șǻįđ. “Ťħěșě řěfǿřmș ẅįŀŀ
                ěňșųřě ťħǻť ẅįŀŀ ňěvěř ħǻppěň ǻģǻįň.”

                Ťħě čįťỳ ǿf Mǿbįŀě įňđěpěňđěňťŀỳ čħǻňģěđ įťș bǻįŀ přǻčťįčěș ěǻřŀįěř ťħįș
                ỳěǻř, řěșųŀťįňģ įň ǻ 45 pěřčěňť đěčřěǻșě įň ťħě mųňįčįpǻŀ jǻįŀ pǿpųŀǻťįǿň –
                fřǿm ǻň ǻvěřǻģě ǿf 85 įňmǻťěș ťħě mǿňťħ běfǿřě řěfǿřmș, ťǿ řǿųģħŀỳ 47
                įňmǻťěș ŀǻșť mǿňťħ. Mǿňťģǿměřỳ ħǻș ǻŀșǿ řěčǿřđěđ ǻbǿųť ǻ ǿňě-ťħįřđ
                řěđųčťįǿň įň įťș jǻįŀ pǿpųŀǻťįǿň fǿŀŀǿẅįňģ įťș řěfǿřmș.

                “Běfǿřě Mǿbįŀě čħǻňģěđ įťș bǻįŀ přǻčťįčěș, mǻňỳ pěǿpŀě ẅěřě șįťťįňģ įň jǻįŀ
                fǿř ųp ťǿ 30 đǻỳș běčǻųșě ťħěỳ čǿųŀđ ňǿť ǻffǿřđ ťǿ pǿșť bǻįŀ, ǻňđ mǻňỳ ǿf
                ťħǿșě pěǿpŀě ẅǿųŀđ ňěvěř ěvěň ħǻvě řěčěįvěđ ǻ jǻįŀ șěňťěňčě,” șǻįđ Ňǻťħǻň
                Ěmmǿřěỳ, ťħě čħįěf mųňįčįpǻŀ čǿųřť ǻđmįňįșťřǻťǿř fǿř Mǿbįŀě. “Ǿųř bǻįŀ
                přǻčťįčě řěfǿřmș ěňșųřě ťħǻť pǿǿř pěǿpŀě ǿř ǿťħěřș ẅįŀŀ ňǿť șįť běħįňđ bǻřș
                ųňňěčěșșǻřįŀỳ.”

                Ťħě řěfǿřm ħǻș ňǿť ħǻđ ǻ ňěģǻťįvě įmpǻčť ǿň pųbŀįč șǻfěťỳ ǿř ťħě řǻťě ǿf
                pěǿpŀě șħǿẅįňģ ųp fǿř ťħěįř čǿųřť đǻťě, Ěmmǿřěỳ șǻįđ.

                Ǻččǿřđįňģ ťǿ ťħě ňǿňpřǿfįť Přįșǿň Pǿŀįčỳ İňįťįǻťįvě, ňěǻřŀỳ 650,000 pěǿpŀě
                ǻřě ŀǿčķěđ ųp įň mǿřě ťħǻň 3,000 ŀǿčǻŀ jǻįŀș ňǻťįǿňẅįđě. Șěvěňťỳ pěřčěňť
                ǻřě běįňģ ħěŀđ přěťřįǻŀ, měǻňįňģ ťħěỳ ħǻvě ňǿť běěň čǿňvįčťěđ ǿf ǻ čřįmě
                ǻňđ ǻřě přěșųměđ įňňǿčěňť.

                Ťħǻť ẅǻș ťħě čǻșě fǿř ǿňě Șỳŀǻčǻųģǻ mǻň ẅħǿ ẅǻș ǻřřěșťěđ fǿř ǻ șťǿŀěň
                įPħǿňě ǻňđ șpěňť 26 đǻỳș įň jǻįŀ běčǻųșě ħě čǿųŀđ ňǿť pǿșť bǿňđ. Ħě mįșșěđ
                ťħě bįřťħ ǿf ħįș ňįěčě ǻňđ ǻ jǿb įňťěřvįěẅ ẅħįŀě įň jǻįŀ. Șỳŀǻčǻųģǻ ħǻș șįňčě
                řěfǿřměđ įťș přǻčťįčěș ǻť ťħě ȘPĿČ’ș ųřģįňģ.

                Ťħě Ų.Ș. Jųșťįčě Đěpǻřťměňť ěxpřěșșěđ čǿňčěřň ǻbǿųť ťħě ųșě ǿf mǿňěỳ
                bǻįŀ įň ǻň ǻmįčųș břįěf fįŀěđ įň Ǻųģųșť ẅįťħ ǻ fěđěřǻŀ ǻppěǻŀș čǿųřť, ňǿťįňģ
                ťħǻť bǻįŀ přǻčťįčěș ťħǻť “įňčǻřčěřǻťě įňđįģěňť įňđįvįđųǻŀș běfǿřě ťřįǻŀ șǿŀěŀỳ
                běčǻųșě ǿf ťħěįř įňǻbįŀįťỳ ťǿ pǻỳ fǿř ťħěįř řěŀěǻșě vįǿŀǻťě ťħě Fǿųřťěěňťħ
                Ǻměňđměňť” ǻňđ “řěșųŀť įň ťħě ųňňěčěșșǻřỳ įňčǻřčěřǻťįǿň ǿf ňųměřǿųș
                įňđįvįđųǻŀș ẅħǿ ǻřě přěșųměđ įňňǿčěňť.”

                Jǻįŀįňģ pěǿpŀě fǿř ťħě įňǻbįŀįťỳ ťǿ pǻỳ ǻ fįňě ǿř bǻįŀ ħǻș ǻ ŀǿňģ ħįșťǿřỳ įň ťħįș
                čǿųňťřỳ. Řěčěňť ŀǻẅșųįťș ħǻvě čħǻŀŀěňģěđ ťħě přǻčťįčě įň Ǻŀǻbǻmǻ,
                Čǻŀįfǿřňįǻ, Ģěǿřģįǻ, İŀŀįňǿįș, Ķǻňșǻș, Ŀǿųįșįǻňǻ, Mįșșįșșįppį ǻňđ Ťěxǻș.

                Přěťřįǻŀ đěťěňťįǿň čǻřřįěș ǻ ťřěměňđǿųș čǿșť – ǻbǿųť $9 bįŀŀįǿň ǻ ỳěǻř,
                ǻččǿřđįňģ ťǿ ǻ 2012 șťųđỳ bỳ ťħě Jųșťįčě Pǿŀįčỳ İňșťįťųťě. Měǻňẅħįŀě,

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                pěǿpŀě ųňǻbŀě ťǿ pǻỳ mǿňěỳ bǻįŀ ǿř pǿșť bǿňđ mǻỳ ŀǿșě jǿbș ǿř čųșťǿđỳ ǿf
                ťħěįř čħįŀđřěň, đěfǻųŀť ǿň pǻỳměňťș fǿř ħǿųșěħǿŀđ ǻňđ ǿťħěř ŀįvįňģ
                ěxpěňșěș, ǿř fǻčě įňčřěǻșěđ ħǻřđșħįpș čǻřįňģ fǿř đěpěňđěňťș.

                ȘPĿČ ẅǿřķěđ ẅįťħ ǻťťǿřňěỳș fřǿm Čįvįŀ Řįģħťș Čǿřpș ǿň ťħįș ěffǿřť.

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